             Case 1:21-cr-00395-TJK Document 61 Filed 02/20/24 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
                           v.                   :
                                                :      No. 21-CR-00395 (TJK)
EMANUEL JACKSON,                                :
                                                :
                           Defendant.           :

                      JOINT STATUS REPORT
 AND CONSENT MOTION TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

        The United States of America, through counsel, and Defendant Emanuel Jackson, through

counsel, hereby submits this Joint Status Report per order of the Court dated February 14, 2024.

        The parties state as follows:

        1.      The Defendant was charged by criminal complaint on January 18, 2021 [Doc. No.

1], and an information was filed on June 10, 2021 [Doc. No. 28].

        2.      The parties have actively engaged in plea discussions in an attempt to resolve this

case.

        3.      On February 5, 2024, the government extended a plea offer to counsel for the

Defendant.

        4.      The parties request that the Court schedule a plea hearing for May 5, 2024, May

10, 2024, or a date convenient for the Court.

        5.      The parties agree to toll the speedy trial clock until the next hearing due to further

talks aimed at a pretrial disposition, and because the ends of justice served by granting this

continuance outweighs the best interests of the public and the Defendant in a speedy trial.

        6.      Defendant remains in compliance with his pre-trial conditions of release.

        7.      A proposed Order is attached.
          Case 1:21-cr-00395-TJK Document 61 Filed 02/20/24 Page 2 of 2




      WHEREFORE, for the foregoing reasons, the United States respectfully requests that the

Court exclude the time until the next set hearing, pursuant to 18 U.S.C. § 3161 et seq., on the basis

that the continuance will further talks aimed at a pretrial disposition. The Government also requests

that the Court find that the ends of justice served by granting this continuance outweighs the best

interests of the public and the Defendant in a speedy trial.


                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052

                                      By:     s/ Sarah W. Rocha
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Dated: February 20, 2024




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